Case 8:21-bk-11710-SC   Doc 247 Filed 10/13/22 Entered 10/13/22 12:50:39   Desc
                         Main Document     Page 1 of 4
Case 8:21-bk-11710-SC   Doc 247 Filed 10/13/22 Entered 10/13/22 12:50:39   Desc
                         Main Document     Page 2 of 4
Case 8:21-bk-11710-SC   Doc 247 Filed 10/13/22 Entered 10/13/22 12:50:39   Desc
                         Main Document     Page 3 of 4
Case 8:21-bk-11710-SC   Doc 247 Filed 10/13/22 Entered 10/13/22 12:50:39   Desc
                         Main Document     Page 4 of 4
